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                               ** NOT FOR PRINTED PUBLICATION**

                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE EASTERN DISTRICT OF TEXAS

                                               LUFKIN DIVISION


CHARLES ANTHONY COLBERT                                   §

VS.                                                       §                CIVIL ACTION NO. 9:20-CV-120

DIRECTOR, TDCJ-CID                                        §

                               ORDER ACCEPTING THE MAGISTRATE
                             JUDGE’S REPORT AND RECOMMENDATION
        Petitioner, Charles Anthony Colbert, an inmate currently confined at the Polunsky Unit with

the Texas Department of Criminal Justice, Correctional Institutional Division, proceeding pro se,

filed this petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254.

        The court referred this matter to the Honorable Keith GIblin, United States Magistrate Judge,

at Lufkin, Texas, for consideration pursuant to applicable laws and orders of this court. The

Magistrate Judge recommends the petition for writ of habeas corpus be denied (docket entry no. 2).

        The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record, and pleadings.                            No

objections to the Report and Recommendation of United States Magistrate Judge have been filed

to date.1

                                                      ORDER

            Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct,
 and the report of the Magistrate Judge is ACCEPTED. A Final Judgment will be entered in this




        1
            Plaintiff received a copy of the Report and Recommendation on June 22, 2020 (docket entry no. 3).
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case in accordance with the Magistrate Judge’s recommendations.


        So Ordered and Signed
        Nov 6, 2020




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